         Case 2:12-cv-01924-SM-DPC Document 686 Filed 04/18/23 Page 1 of 2




MINUTE ENTRY
MORGAN, J.
April 18, 2023




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA,                                       CIVIL ACTION
        Plaintiff

    VERSUS                                                          NO. 12-1924

    CITY OF NEW ORLEANS,                                            SECTION “E”
         Defendant


                                     MINUTE ENTRY

          A telephone status conference was held on the record on April 18, 2023, at 2:00

p.m., in the chambers of Judge Susie Morgan.

          Present:     Jonas Geissler, Timothy Mygatt, and Syeda Mehveen Riaz, on
                       behalf of Plaintiff, the United States of America ("DOJ");

                       Charles Zimmer, Daniel Davillier, and Kevin Hill, on behalf of
                       Defendant, the City of New Orleans (“the City”);

                       Jonathan Aronie and David Douglass, Office of the Consent
                       Decree Monitor ("Monitor").

          On April 12, 2023, the Court ordered the DOJ and the City to meet and confer to

determine whether they agreed on any modifications to the Court’s April 3, 2023 Order1

for the Court to consider.2 The parties reported that they did meet and confer but they




1   R. Doc. 679.
2   R. Doc. 685.


                                              1
     Case 2:12-cv-01924-SM-DPC Document 686 Filed 04/18/23 Page 2 of 2




were unable to agree on any modifications to the April 3, 2023 Order for the Court to

consider.

      New Orleans, Louisiana, this 18th day of April, 2023.



                                       ________________________________
                                                SUSIE MORGAN
                                         UNITED STATES DISTRICT JUDGE




  JS10 (0:03)




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